           Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 1 of 8



                             IN THE CIRCUIT COURT FOR
                        PRINCE GEORGE'S COUNTY, NIARYLAND
                    /



OLUFIKAYO ABIOLA AKINTOLA,                                    *
15104 Dove Heart Lane
Bowie, NID 20721                                              ~
                                                              *
       Plaintiff,

       V.                                                     *   Case No.:   4(, 21—
                                                              ~

BACKGROUNDCHEiCKS.CONd, LLC,                                                              ~
SER'VE:                                                       *                                 ,        -
CSC-Lawyers Incorporating Service Co.
7 St. Paul Street, Suite 820                                  *                                 t
Baltimore, MD 21202
                                                              *
       Defendant.                                                                                        ;




                                         COIVIPLAINT

        Plaintiff, OLUFIKAYO ABIOLA AKINTOLA, by and through his undersigned attorney,

submits this Complaint against Defendant, BACKGROUNDCHECKS.CONi, INC. and states as

follows.
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1.          This action is :lirouglit under the federal Fair Credit Reporting Act, 15 U.S.C. §§ 1681a-

x("FCRA"), and Plaintiff seeks actual, statutory, and punitive damages, costs and attorneys'

fees. The FCRA requires consumer reporting agencies to use "reasonable procedures to assure

maximum possible accuracy" when preparing and furnishing a consumer report about an

individual. 15 U.S.C. § 1681e(b). Plaintiff alleges that Defendant failed to assure maximum

accuracy when it prepared and fumished a consumer report that contained grossly inaccurate,
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 false and misleadiia~ infonation to Plaintiff's employer, and as a result, Plaintiff sufferecl harm.




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            Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 2 of 8



2.      This action is also brought under the Maryland tort and privacy laws of Injurious

Falsehood, False Light and Negligence. As a result of Defendant's willful and reckless failure to

prepare and furnish an accurate consumer report, and to maintain reasonable procedures to assure

maximum possible accuracy in their reports, and Defendant's subsequent publication of the

report to a third party which placed Plaintiff in a false light,. Plaintiff Akintola suffered haxm for

which he seeks damages.             '

                                              PARTIES

3.      Plaintiff, OLUFIKAYO ABIOLA AKINTOLA ("Akintola") is an adult resident of

Prince George's County, Maryland.

4.     Defendant, BACKGROUNDCHECKS.COM, LLC ("BGC") is a Delaware Corporation

(formerly a Texas Corporation, currently with a principal place of business in Texas) doing

business in the State of Maryland.

                                          JiJRISDICTI®N

5.      This Court has subject matter jurisdiction under the FCRA, 15 U.S.C. §1681p.

6.      Venue is proper as Plaintiff is a resident of Prince George's County, and Defendant

conducts business and has sufficient contacts in the State of Maryland, Prince George's County,

and the conduct giving rise to this action arose therein.

                                     FACUrAI. ALLEGATIGNS

7.      Plaintiff Akintola is a"consumer" as that term is defined by the FCRA, 15 U.S.C. §

1681a(c).

8.      BGC provides criminal background information and reports to consumers and businesses

and is a"consumer reporting agency" ("CRA") as defined in 15 U.S.C. § 1681a(f).



                                                   2
            Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 3 of 8



9.     In early 2019, Plaintiff Akintola was contacted by a recruiting firm, Dynanet Corporation

("Dynanet"), regarding a full-time job opening as a Training Specialist working for a federal

contractor, General Dynamics Information Technology ("GDIT").

10.    On or about February 6, 2019, Plaintiff Akintola was interviewed for the position as a

Training Specialist by Dynanet and GDIT. Plaintiff was offered the Training Specialist position,

which he accepted. The offer was' made on a conditional basis, pending a b_ackgro.iuid check.

The interview process included having Plaintiff Akintola sign an "Acknowledgement and

Authorization Itegarding Background Investigation" which authorized Dynanet to obtain a

criminal background check of Plaintiff Akintola.

11.    Dynanet hired SentryLink LLC ("SentryLink") to perform the background check on

Plaintiff Akintola.

12.    On or about February 7 or 8, 2019, BGC provided the background check report to

SentryLink.

13.    SentryLink in turn provided the report to Dynanet. Dynanet then provided the report to

Plaintiff's new employer, GDIT.

14.    BGC was the original source for the information contained in the background check

report on Plaintiff.

15.     The background report obtained by Dynanet contained inaccurate, false and misleading

statements regarding Plaintiff Akintola, accusing him of currently being charged with crimes
including illegal drug possession and serious traffic violations in the State of Maryland.

16.     On or about Friday, February 8, 2019, Dynanet provided a copy of the report to Plaintiff

Akintola.




                                                 3
          Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 4 of 8



17.    On or about Saturday, Februauy 9, 2019, Plaintiff Akintola provided Dynanet with

documents showing that the information in the report was inaccurate, false and misleading,

including Court Orders of Expungement and related Court Certifications of Compliance.

18.    The criminal charges in the report had been dismissed and expunged from Plaintiff's

record. BGC should not have included any charges in their report if those charges had been

expunged.

19.    On or about Monday, February 12, 2019, Plaintiff Akintola was advised by Dynanet that

the job offer was being rescinded, as he was no longer being considered for the Training

Specialist position with GDIT based upon the information in the criminal background report.

                       COIJIVT I— FAIR CREDIT REPORTING ACT

20.    Plaintiff adopts and incorporates all allegations in the preceding paragraphs as if fully set

forth herein.

21.    At all times pertinent hereto, Defendant BCG was a"person" and "consumer reporting

agency" ("CRA") as defined by section 1681a of the Fair Credit Reporting Act ("FCRA"), 15

U.S.C. §1681a.

22.    Plaintiff Akintola is a natural person and a"consumer" as defined by section 1681a(c) of

the FCRA, 15 U.S.C. §1681a(c).

23.     On or about February 6 and 7, 2019, Defendant BGC provided a"consumer report" as

the terrn is defined by 15 U.S.C. § 1681a(d), concerning Plaintiff Akintola to his new employer

GDIT, through GDIT's recruiting firm, Dynanet.

24.     The consumer report funiished by Defendant BGC was for employment purposes.

25.     Upon information and belief, BGC was the original source for the inaccurate, false and

xnisleading report(s) generated regarding Plaintiff.


                                                 4
          Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 5 of 8



26.    Plaintiff Akintola was offered a job as Training Specialist, a job which he accepted,

conditional on a background check.

27.    The report provided by Defendant contained inaccurate, false, misleading and injurious

statements, including accusing Plaintiff of being currently charged with criminal offenses.

28.    The report provided by Defendant BGC included items which had previously been

dismissed as nolle prosequi and which records had previously been expunged per Court Order.

29.    Defendant BGC failed to follow reasonable procedures to assure that maximum possible

accuracy of the information it reported in the credit report concerning Plaintiff Akintola. BGC

failed to include the most current information on the report it generated.

30.    At all times pertinent hereto, the conduct of Defendant BGC, as well as that of its agents

andlor employees, was intentional, willful, reckless and in grossly negligent disregard for federal

law and the rights of Plaintiff.

31.    Pursuant to 15 U:S.C. § 1681n and 15 U.S.C. § 1681o, Defendant is liable to the Plaintiff

for willfully and negligently failing to comply with the requirements imposed on a consumer

reporting agency of information pursuant to 15 U.S.C. § 1681e(b).

32.    The conduct of Defendant BGC was a direct and proximate cause, as well as a substantial

factor in bringing about the serious injuries, actual damages and harm to Plaintiff Akintola

outlined above.

33.    Defendant BGC is liable to PlaintiffAkintola for the full amount of statutory, actual, and

punitive damages, aiong with the attorneys' fees and costs of litigation, as well as such further

relief as may be permitted by law.




                                                 5
          Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 6 of 8



                           COUNT II - INJUItIOUS FALSEHOOD

34.     Plaintiff adopts and incorporates all allegations contained above as if fully set forth herein.

35.    Defendant BGC made:statemeiits that Plaintiff was currently charged with crimes.

36.    These statements made by the Defendant were made with reckless disregard for the truth

of the allegations made by Defendant. These statements were published to third parties.

37.    That as a result of the malicious and deliberate actions of the Defendants, Plaintiff had a

job opportunity rescinded, and thereafter had greater difficulty in securing other employment and

suffered other economic loss.

38.    That as a result of the actions of the Defendant acting with reckless disregard for the truth

of the allegations that Plaintiff was currently charged with crimes, Plaintiff had a job opportunity

rescinded, had great difficulty in securing other employment and suffered other economic loss.

39.    That as a result of the malicious actions of the Defendant BGC and as a result of the

actions of the Defendant BGC in acting with recldess disregard for the truth, Plaintiff A.kintola

suffered economic loss resulting from his loss of employment and suffered mental anguish and

personal humiliation, along with loss of professional:reputation.

        WHEREFORE, Plaintiff demands judgment against Defendant in the amount of

$100,000 in compensatory damages and additional damages for pain and suffering, emotional

distress, and loss of professional reputation, plus punitive damages of One Hundred Thousand

Dollars ($100,000.00), plus attorneys' fees, interest and costs.

                                  COUNT III — FALSE LIGHT

40.     Plaintiff adopts and incorporates the allegations contained above, and fiirther states that

the Defendant BGC improperly publicized inaccurate, false and misleading information about



                                                  6
          Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 7 of 8



Plaintiff which placed Plaintiff Akintola in a false light by attributing to him conduct and

characteristics which were false.

41.    Defendant BGC acted with reckless disregard for the truth in publishing information that

Plaintiff Akintola was currently charged with crimes of possession of illegal drugs and hit and

other crimes.

42.    The publication of this false information was highly offensive to any reasonable person.
                                                             ~
43.    That as a result of each and all the Defendants' conduct, Plaintiff Akintola suffered

economic loss, mental anguish, pain and suffering, loss of professional reputation, humiliation,

and other damages, when the job offer was rescinded and future employment uncertain.

       WHEREFORE, Plaintiff demands judgment against Defendant in the amount of

$100,000 in compensatory damages and additional damages for.pain and suffering, emotional

distress, and loss of professional reputation, plus punitive damages of One Hundred Thousand

Dollars ($100,000.00), plus attorneys' fees, interest and costs.

                                    COUNT IV — NEGLIGENCE

44.    Piaintiff adopts and incorporates the allegations contained above, as if fully set forth herein.

45.    Defendant BGC improperly publicized inaccurate, false and misleading information

about Plaintiff and breached its duty of care owed to Plaintiff when it failed to use proper

procedures to prepare and furnish a criminal background report in an employment situation.

46.     The Defendant's sole negligence was the proximate cause of Plaintiffs injuries, which

include economic loss, mental anguish, pain and suffering, loss of professional reputation,

humiliation, and other damages.

       WHEREFORE, Plaintiff demands judgment against Defendant in the amount of

$100,000 in compensatory damages and additional damages for pain and .s,uffering; emotional


                                                  7
          Case 8:21-cv-00897-GJH Document 3 Filed 04/09/21 Page 8 of 8



distress, and loss of professional reputation, humiliation, plus punitive damages of One Hundred

Thousand Dollars ($100,000.00), plus attorneys' fees, interest and costs.

                                    PRAYER FOR RELIEF
       WHEREFORE, the Plaintiff, Olufikayo Abiola Aki.ntola, respectfully requests the

following relief against Defendant on all counts:

1.     Judgment be entered in Plaintiff's favor and against Defendant BCrC on each count as set

forth above;

2.     For Count I, an award for actual and/or statutory damages and punitive damages for

violations of 15 U.S.C. § 1681e(b), pursuant to 15 U.S.C. § 1681n and 15 U.S.C. §1681o;

3.     For Counts II, III, and IV, an award for actual, special and compensatory damages in an

amount of One Hundred Thousand Dollars ($100,000.00) including additional damages for pain

and suffering, emotional distress, lost wages, and loss of professional reputation, plus punitive

damages of One Hundred Thousand Dollars ($100,000.00), for each count, as set forth above;

4.     F®r all Counts, an award of attorneys' fees and costs in an amount to be determined;

5.     For all Counts, an award to include pre judgment and post judgment interest; and

6.     For such other and furthet relief to which he may be entitled.

                                      Respectfiilly~suUmitfied,


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